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The Honorable Judge Cooper
United States District Court
for the District of Columbia
333 Cons�tu�on Ave, NW Washington, D.C. 20004


RE: Character Reference for Josiah Hueso



Dear Judge Cooper,

Please let this leter serve as a character reference for Josiah Hueso. I have known Josiah since he ﬁrst
saw the light of day as I am a very close friend of the Hueso family. Your honor, I am a re�red
businessman and throughout my career I have had to at �mes provide character references for various
defendants, business associates and employment candidates. I state the above because almost always
the measure of character only reveals itself in tough �mes and diﬃcult situa�ons. No doubt this is
where we ﬁnd ourselves today in Josiah’s young life. I can say unequivocally that Josiah is a quiet and
though�ul young man with a deep sense of family and respect for the opinions and rights of others.
When I was s�ll in business, I had many occasions to interact with him and I have always known him to
be du�ful and honorable in his profession. He is a good man and to the many that know him a good
ci�zen as well.

Your honor, on January 6th, 2022, Josiah travelled to Washington D.C. with no intent of criminality, his
purposes were peaceful and transparent. He was there to atend a rally and support his president. We
know that other rally goers were there to sow chaos and cause injury, Josiah was not one of them. I ask
that you dis�nguish his ac�ons from those who caused injury and property damage. If the court deems
him part and parcel with the ac�ons of others, then kindly adjudicate him in the most favorable light.

Yes, some�mes our ac�ons have real consequences and no doubt that is the case here. The past couple
of years have been very stressful and ﬁnancially diﬃcult for Josiah, his wife, and their respec�ve families.
He is newlywed and soon to be a father. I am certain Josiah would have chosen diﬀerently had he known
that a rally would turn into an insurrec�on. Lastly your honor, I ask that you please give leniency and
favorable considera�on to Josiah. It is my deepest belief that Josiah will redeem this present episode and
grow in wisdom and be a good ci�zen and become beter man.

Should you require any further informa�on or clariﬁca�on, please feel free to contact me at
619.300.4044 or larrydvazquez@gmail.com. Thank you for your �me and considera�on.

Sincerely,

Larry Vazquez
